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    3                                        UNITED STATES BANKRUPTCY COURT

    4                                         CENTRAL DISTRICT OF CALIFORNIA

    5                                                 LOS ANGELES DIVISION

    6                                                                Case No. 2:19-bk-14989-WB
            IN RE:
    7                                                                Chapter 11
            SCOOBEEZ, et al.1
    8
                            Debtors and Debtors in Possession.
    9
            Affects:                                                 NOTICE OF POTENTIAL ASSUMPTION AND
  10
                                                                     ASSIGNMENT OF EXECUTORY
            ■ All Debtors                                            CONTRACTS AND UNEXPIRED LEASES IN
  11
                                                                     CONNECTION WITH SALE
            □ Scoobeez, ONLY
  12
            □ Scoobeez Global, Inc., ONLY
  13
                                                                     Hearing:
            □ Scoobur LLC, ONLY                                      Date: October 17, 2019
  14
                                                                     Time: 10:00 a.m.
  15                                                                 Place: Courtroom 1375
                                                                              U.S. Bankruptcy Court
  16                                                                          255 East Temple Street
                                                                              Los Angeles, CA 90012
  17

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        1
         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez
  28
        (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale,
        California 91214.


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    1
                          THIS NOTICE PROVIDES IMPORTANT INFORMATION REGARDING THE
    2                     POSSIBLE ASSUMPTION AND ASSIGNMENT OF YOUR CONTRACT(S) WITH
                          THE ABOVE-CAPTIONED DEBTORS AND RIGHTS RELATING THERETO.
    3                     YOU SHOULD CAREFULLY REVIEW THIS DOCUMENT AND LOCATE
                          YOUR NAME AND CONTRACT(S) ON “EXHIBIT A” ATTACHED TO THIS
    4                     NOTICE.

    5
                   COUNTERPARTIES TO THE DEBTORS’ EXECUTORY CONTRACTS AND UNEXPIRED LEASES
    6
        PLEASE TAKE NOTICE OF THE FOLLOWING:
    7                 1.       On April 30, 2019, the above-captioned debtors and debtors in possession (collectively the “Debtors”),
    8        filed voluntary petitions for relief pursuant to chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in
             the United States Bankruptcy Court for the Central District of California (the “Bankruptcy Court”).
    9                 2.        On August 29, 2019, the Debtors filed a motion (the “Bid Procedures Motion”) [Dkt. No. 293],
  10         pursuant to sections 105, 363, 365 and 503 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006 and 9014
             seeking entry of an order (the “Bid Procedures Order”): (i) approving the proposed auction and bidding procedures (the
  11         “Bidding Procedures”) for the potential sale of substantially all of the Debtors’ assets (the “Assets”) pursuant to that
             certain asset purchase agreement (the “Agreement”) with Hillair Capital Advisors LLC, or its designee, to serve as the
  12         stalking horse Buyer (the “Stalking Horse Bidder”), free and clear of all liens, claims, interests and encumbrances,
             including without limitation any successor liability; (ii) approving the bid protections, including the reimbursement of
  13
             expenses of the Stalking Horse Bidder up to $150,000 (the “Expense Reimbursement”); (iii) establishing procedures for
  14         the assumption and assignment of executory contracts and unexpired leases, including notice of proposed cure amounts
             (the “Assumption and Assignment Procedures”); (iv) approving the form and manner of notice of all procedures,
  15         protections, schedules and agreements; and (v) scheduling a hearing (the “Sale Hearing”) to approve such sale (the
             “Sale” or the “Transaction”).2
  16
                       3.        Pursuant to the bid procedures order entered by the United States Bankruptcy Court for the Central
  17         District of California on September 17, 2019 (the “Bid Procedures Order”) [Docket No. 321], the Debtor hereby provides
             notice that it is seeking to potentially assume and assign the executory contracts or unexpired leases (the “Potential
  18         Assumed Contracts”) listed on Exhibit A attached hereto to the Stalking Horse Bidder, or, if another bidder prevails at
  19         the Auction, the Winning Bidder.
                       4.        When the Debtors assume and assign a Potential Assumed Contract to which you are a party, on the
  20         Closing (as defined in the Agreement), or as soon thereafter as practicable, you will be paid the amount the Debtors’
  21         records reflect is owing for prepetition arrearages as set forth on Exhibit A (the “Cure Amounts”). The Debtors’ records
             reflect that all post-petition amounts owing under your Potential Assumed Contract have been paid and will continue to
  22         be paid until the assumption and assignment of the Potential Assumed Contract, and that other than the Cure Amounts,
             there are no other defaults under the Potential Assumed Contract. Upon payment of the Cure Amount, whether as
  23         scheduled in this Notice, agreed to by the parties or ordered by the Court, all defaults under the Contract will be cured or
             deemed unenforceable and the rights under the Contract of the assignee from the Debtors shall be as if no default had
  24
             ever occurred.
  25                  5.       Inclusion of an executory contract or unexpired lease as a Potential Assumed Contract on Exhibit A is
             not a guarantee that such executory contract or unexpired lease will ultimately be assumed and assigned to the Stalking
  26
             Horse Bidder, or the Winning Bidder.
  27

  28    2
         Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Bid Procedures
        Motion, the Bid Procedures Order or the Bidding Procedures.
                                                                         NOTICE OF POTENTIAL ASSUMPTION AND ASSIGNMENT
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    1                 6.        You shall have until 4:00 p.m. prevailing Pacific Time on October 1, 2019 (the “Assumption Objection
             Deadline”), which deadline may be extended in the discretion of the Debtors and the Stalking Horse Bidder, to object (a
    2        “Assumption Objection”) to the proposed assumption and assignment of the Potential Assumed Contracts in connection
             with the Sale, including the Cure Amounts listed by the Debtors, and to propose alternative cure amounts.
    3
                       7.       If you object to the Cure Amounts of such Potential Assumed Contract(s) or you otherwise object to
    4        the assumption and assignment of such Potential Assumed Contract(s) to the Stalking Horse Bidder, including the
             adequate assurance of future performance by the Stalking Horse Bidder, you are required to file an Assumption
    5
             Objection, in writing, setting forth with specificity any and all cure obligations that you assert must be cured or satisfied
    6        in respect of the Potential Assumed Contract(s) and any and all objections to the assumption and assignment of the
             Potential Assumed Contract(s), as applicable, together with all documentation supporting such cure claim and objections,
    7        with the Bankruptcy Court, 255 East Temple Street, Los Angeles, CA 90012, together with proof of service, and serve
             such Assumption Objection upon the Notice Parties (defined below), so that the Assumption Objection is received no
    8
             later than 4:00 p.m. (prevailing Pacific Time) on the Assumption Objection Deadline. If you file an Assumption
    9        Objection asserting a cure amount higher than the proposed Cure Amounts (the “Disputed Cure Amount”), then (a) to
             the extent that the parties are able to consensually resolve the Disputed Cure Amount prior to the Sale Hearing, and
  10         subject to the consent of the Stalking Horse Bidder or the Winning Bidder of such consensual resolution, the parties may
             set the Cure Amount at such agreed amount or otherwise resolve the Assumption Objection or (b) to the extent the
  11         parties are unable to consensually resolve the dispute prior to the Sale Hearing, then such objection will be heard at the
             Sale Hearing or thereafter.
  12
                      8.        Upon receipt of this Notice, you are advised to send an email to the Debtors’ undersigned counsel
  13         containing an email address at which you may be contacted. In the event the Stalking Horse Bidder is not the Winning
             Bidder after the Auction, then immediately upon Debtors’ identification of the Winning Bidder after the Auction, the
  14
             Debtor will file and serve, including by email to the extent practicable, a notice that identifies the Winning Bidder.
  15                  9.        In the event the Stalking Horse Bidder is not the Winning Bidder after the Auction, if you object to the
             proposed assumption and assignment to the Winning Bidder of the Potential Assumed Contract(s), including adequate
  16
             assurance of future performance by the Winning Bidder, you are required to file an objection (a “Supplemental
  17         Objection”), in writing, setting forth with specificity any and all objections to the assumption and assignment of the
             Potential Assumed Contract(s), as applicable, to the Winning Bidder, together with all documentation supporting such
  18         objections, with the Bankruptcy Court, 255 East Temple Street, Los Angeles, CA 90012, together with proof of service
             and serve such Supplemental Objection upon the Notice Parties (defined below) by electronic mail, so that the
  19
             Assumption Objection is received no later than 4:00 p.m. Pacific time on October 16, 2019.
  20                   10.      If an Assumption Objection and/or Supplemental Objection is timely filed and not resolved by the
             parties, a hearing with respect to the objection will take place before the Honorable Julia Brand, United States
  21
             Bankruptcy Judge, 255 East Temple Street, Los Angeles, CA 90012, at the Sale Hearing to be held at 10:00 a.m. Pacific
  22         time on October 17, 2019.
                      11.      You will have the opportunity to evaluate and, if necessary, challenge the ability of any Winning
  23
             Bidder to provide adequate assurance of future performance under the Potential Assumed Contracts, as provided for
  24         above in Paragraphs 6-10 of this Notice. At the Sale Hearing, the Debtor shall present evidence necessary to
             demonstrate adequate assurance of future performance by the Winning Bidder.
  25
                      12.       For purposes of any Assumption Objection or Supplemental Objection, the “Notice Parties” shall be:
  26         (i) the Debtors, care of their Chief Restructuring Officer, Brian Weiss, Force 10 Partners LLC, 20341 SW Birch Suite
             220, Newport Beach, CA 92660 (bweiss@force10partners.com); (ii) counsel to the Debtors, Foley & Lardner LLP, 555
  27         S. Flower Street, 33rd Floor, Los Angeles, CA 90071, Attn: Ashley M. McDow (amcdow@foley.com) and John A.
             Simon (jsimon@foley.com); (iii) financial advisors to the Debtors, Conway MacKenzie, Inc., 333 South Hope Street,
  28         Suite 3625, Los Angeles, CA Attn: Michael Flynn (mflynn@conwaymackenzie.com); (iv) the Debtors’ investment
             banker, Armory Securities LLC, 1230 Rosecrans Avenue, Manhattan Beach, CA 90266, Attn: Eben Perison
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    1        (eperison@armorysecurities.com) and Jonathan Brownstein (jbrownstein@armorysecurities.com) ; (v) counsel to the
             Official Committee of Unsecured Creditors, Levene, Neale, Bender, Yoo & Brill L.L.P., 10250 Constellation Blvd.,
    2        Suite 1700, Los Angeles, CA 90067, Attn: David Neale (dln@lnbyb.com) and John-Patrick Fritz (jpf@lnbyb.com); and
             (vi) counsel to Stalking Horse Bidder: Olshan Frome Wolosky LLP, 1325 Avenue of the Americas, New York, NY
    3
             10019, Attn: Adam Friedman (afriedman@olshanlaw.com) and Buchalter, 1000 Wilshire Boulevard, Suite 1500, Los
    4        Angeles, CA 90017 Attn: Anthony Napolitano (anapolitano@buchalter.com) and Steven Spector
             (sspector@buchalter.com).
    5
                      13.       At the Sale Hearing, the Debtors will seek the Bankruptcy Court's approval of its assumption and
    6        assignment to the Stalking Horse Bidder (or if the Stalking Horse Bidder is not the Winning Bidder, then to the Winning
             Bidder) of those executory contracts and unexpired leases that have been selected by the Stalking Horse Bidder (or if the
    7        Stalking Horse Bidder is not the Winning Bidder, then to the Winning Bidder) to be assumed and assigned (collectively,
             the "Assumed Contracts"). Any and all rights of the Debtors and their estates with respect to any Potential Assumed
    8
             Contracts that are not ultimately designated as Assumed Contracts shall be reserved.
    9                  14.      If no Assumption Objection and/or Supplemental Objection is timely filed and served with respect to a
             Potential Assumed Contract in accordance with the respective deadlines set forth herein, then as applicable: (i) the
  10
             Counterparty to such Potential Assumed Contract shall be deemed to have consented to the assumption by the Debtor
  11         and assignment to the Stalking Horse Bidder (or if the Stalking Horse Bidder is not the Winning Bidder, then to the
             Winning Bidder) of the Potential Assumed Contract, and be forever barred from asserting any objection with regard to
  12         such assumption and assignment (including, without limitation, with respect to adequate assurance of future performance
             by the Stalking Horse Bidder (or if the Stalking Horse Bidder is not the Winning Bidder, then to the Winning Bidder);
  13         (ii) any and all defaults under the Potential Assumed Contract and any and all pecuniary losses related thereto shall be
             deemed cured and compensated pursuant to section 365(b)(1)(A) and (B) of the Bankruptcy Code by payment of the
  14
             Cure Amount; and (ii) the Cure Amount for such Potential Assumed Contract set forth in the notice shall be controlling,
  15         notwithstanding anything to the contrary in such Potential Assumed Contract, or any other related document, and the
             Counterparty shall be deemed to have consented to the Cure Amount and shall be forever barred and estopped from
  16         asserting any other claims or defaults related to such Potential Assumed Contract against the Debtors and their estates or
             the Stalking Horse Bidder (or if the Stalking Horse Bidder is not the Winning Bidder, then to the Winning Bidder), or the
  17
             property of any of them, that existed prior to the entry of the Sale Order, or that conditions to assignment must be
  18         satisfied under such Potential Assumed Contracts or that there is any objection or defense to the assumption and
             assignment of such Potential Assumed Contract.
  19
                       15.     The Debtors, the Stalking Horse Bidder, and/or the Winning Bidder reserve all of their rights, claims
  20         and causes of action with respect to the Potential Assumed Contracts. Notwithstanding anything to the contrary herein
             or in the Agreement, the proposed assumption and assignment of each of the Potential Assumed Contracts (a) shall not
  21         be an admission as to whether any such Potential Assumed Contract was executory or unexpired as of the Petition Date
             or remains executory or unexpired post-petition within the meaning of Bankruptcy Code section 365; and (b) shall be
  22         subject to the Debtors’, the Stalking Horse Bidder’s, and/or the Winning Bidder’s right to conduct further confirmatory
             diligence with respect to the Cure Amounts of each Potential Assumed Contract and to modify such Cure Amounts
  23
             accordingly. In the event that the Debtors, the Stalking Horse Bidder, and/or the Winning Bidder determine that your
  24         Cure Amount should be modified, you will receive a notice.
                      16.      This Notice, the Auction, and the Sale Hearing are subject to the fuller terms and conditions of the Bid
  25
             Procedures Motion and the Bid Procedures Order, which shall control in the event of any conflict, and the Debtors
  26         encourage parties-in-interest to review such documents in their entirety. Parties interested in receiving more information
             regarding the sale of substantially all of the Debtors’ assets and/or copies of any related document, including the
  27         Agreement, the Bid Procedures Motion, or the Bid Procedures Order, may make a written request to counsel for the
             Debtor, Foley & Lardner, LLP, 555 S. Flower Street, 33rd Floor, Los Angeles, CA, 90071, Attn: Ashley McDow
  28
             (amcdow@foley.com) and John Simon (jsimon@foley.com). In addition, copies of the Bid Procedures Motion, the Sale

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    1        Motion, the Bid Procedures Order and this Notice can be found on (i) the Court’s website, www.cacb.uscourts.gov
             through PACER (Public Access to Court Electronic Records); and (ii) are on file with the Clerk of the Bankruptcy Court,
    2        255 East Temple Street, Los Angeles, CA 90012.
    3

    4   DATED: September 20, 2019                              FOLEY & LARDNER LLP

    5

    6
                                                                 /s/ Shane J. Moses
    7                                                          Shane J. Moses
    8                                                          Ashley M. McDow (245114)
                                                               John A. Simon (Admitted Pro Hac Vice)
    9                                                          Shane J. Moses (250533)
                                                               555 South Flower Street, Suite 3300
  10                                                           Los Angeles, CA 90071
                                                               Telephone: (213) 972-4500
  11                                                           Facsimile: (213) 486-0065
                                                               Email: amdow@foley.com
  12                                                                   jsimon@foley.com
                                                                       smoses@foley.com
  13
                                                               Attorneys for Debtors SCOOBEEZ, SCOOBEEZ GLOBAL, INC.,
  14                                                           and SCOOBUR, LLC
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    1                                    Exhibit A: Cure Amounts

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                                                          Exhibit A

                                              Potential Assumed Contracts
        Contracts listed include all related amendments, schedules, exhibits, statements of work, and other ancillary
        documents, as each may have been amended, restates or supplemented from time to time. The Cure Amounts
        contained herein have been calculated by the Debtor and do not include any post-petition payments which were
        authorized by order of the Court. If the Cure Amount is listed as $0.00, the Debtor does not believe any amount is
        owed to cure any defaults for the Potential Assumed Contract.

          Counterparty Name     Counterparty            Contract     Contract Type     Contract          Cure Amount
                                Address(es)             Date                           Description
          ADT Security          ADT Security                         Vendor            Vendor            $0.00
          Service               Services
                                PO Box 371878
                                Pittsburgh PA 15250-
                                7878
          Amazon Logistics,     Amazon Logistics,                    Delivery          Delivery          $0.00
          Inc.                  Inc.                                 Provider          Provider
                                Attention General
                                Counsel
                                410 Terry Avenue
                                North
                                Seattle, WA 98109-
                                5210
          AT&T Mobility         AT&T Corp.                           Vendor            Vendor            $35.00
                                c/o CT Corporation
                                818 Seventh Street,
                                Suite 930
                                Los Angeles CA
                                90017-0000
          Athens Services       Athens Services                      Utilities         Utilities         $0.00
                                14048 E. Valley
                                Blvd.
                                La Puente CA 91746-
                                0000
          Booster Fuels, Inc.   Booster Fuels                        Vendor            Vendor            $79,360.71
                                11 N. Ellsworth
                                Avenue
                                San Mateo CA
                                94403-0000
          City of Glendale      City of Glendale                     Utilities         Utilities         $0.00
          Water & Power         Water & Power
                                141 North Glendale
                                Ave., Level 2
                                Glendale CA 91206-
                                0000
          Crescenta Valley      Crescenta Valley                     Utilities         Utilities         $0.00
          Water District        Water District
                                2700 Foothill Blvd.
                                La Crescenta CA
                                91214-0000
          ExtraSpaceStorage     ExtraSpaceStorage                    Lease of          Lease of          $0.00
                                2244 S. Western Ave.                 Storage Space     Storage Space
                                Chicago, IL 60608

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          Fleetwash           Fleetwash Inc.                       Vendor          Vendor            $0.00
                              26 Law Drive
                              Fairfield NJ 07004-
                              0000
          Garo and            Garo and Aroussiak      March 16,    Lease           Lease of 3463     $0.00
          Aroussiask          Dekirmendjian            2018                        Foothill,
          Dekirmendjian       c/o Bulldog                                          Glendale, CA
                              Commercial Real
                              Estate
                              Attn: John Raudsep,
                              President
                              3634 Woodcliff
                              Sherman Oaks, CA
                              91403
          Gemini Insurance    Gemini Insurance                     Insurance       Insurance         $0.00
          Company             Company
                              475 Steamboat Road
                              Greenwich, CT 06830
          Hertz Corporation   The Hertz               January 1,   Master Rental   Master Rental     $460,035.75
                              Corporation             2019         Agreement       Agreement for
                              Attn: Casey                                          Cargo Vans
                              Rodriguez, Division
                              VP
                              2 Schoephoester Road
                              Windsor Locks, CT
                              06096
          Innovative Work     Innovative Work                      Insurance       Insurance         $0.00
          Comp Solutions      Comp Solutions LLC
          LLC                 3440 Blue Springs
                              Road NW
                              Kennesaw, GA 30144
          Lloyd’s of London   Lloyd’s of London                    Insurance       Insurance         $0.00
                              One Lime Street
                              London EC3M 7HA
          Lockton             Lockton Companies                    Fee for         Fee for           $0.00
          Companies, LLC      LLC                                  Services        Services
                              Attn: Nate Mundy,                    Agreement       Agreement
                              COO
                              Lockton Insurance
                              Brokers, LLC
                              725 S. Figueroa, 35th
                              Floor
                              Los Angeles, CA
                              90017
          Parkway             Parkway Commercial      May 4,       Lease           Lease of 3601     $0.00
          Commercial Realty   Realty                  2018                         Northeast Loop
                              Attn: Laurence &                                     820, Suite 103,
                              Patricia Cesander                                    Fort Worth, TX
                              2485 E. Southlake
                              Blvd.
                              Southlake, TX 76092




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          PEX Visa Prepaid      Pex Cards                   Vendor      Vendor            $0.00
          Card (Bancorp         462 7th Avenue
          Bank)                 21st Floor
                                New York NY
                                10018-0000
          Ready Refresh         Ready Refresh               Utilities   Utilities         $189.88
                                4400 S. Kolmar Ave.
                                Chicago IL 60632-
                                0000
          Southern California   Southern California         Utilities   Utilities         $0.00
          Gas                   Gas Company
                                PO Box 1626
                                Monterey Park CA
                                91754-8626
          Spectrum Business     Spectrum Business           Utilities   Utilities         $504.54
                                c/o Charter
                                Communications
                                PO Box 790261
                                Saint Louis MO
                                63179-0000
          Three Two Seven       Three Two Seven             Lease       Lease of 4118     $0.00
          Family Mmgt. LLC      Family Mmgt. LLC                        McCullough
                                PO Box 120040                           Ave., San
                                San Antonio, TX                         Antonio, TX
                                78212
          Trust 5025983 LLC     Trust 5025983 LLC           Lease       Parking Lot       $0.00
          Series 1400 N.        Series 1400 N. Cicero                   Lease for
          Cicero                c/o Nelson Hill –                       property
                                Emily Rasan                             located at 2018
                                1111 S. Western                         W. Cullerton,
                                Avenue                                  Chicago, IL
                                Chicago, IL 60612                       60608
          U-Stor-It, Chicago    U-Stor-It Self Storage      Vendor      Vendor            $0.00
                                Chicago
                                501 W. Broadway
                                Suite 2020
                                San Diego, CA 92101
          U-Stor-It, Lisle      U-Stor-It Self Storage      Vendor      Vendor            $0.00
                                Lisle
                                501 W. Broadway
                                Suite 2020
                                San Diego, CA 92101

          Verizon Wireless      Verizon Wireless            Vendor      Vendor            $0.00
                                PO Box 489
                                Newark NJ 07101-
                                0489
          West American         West American               Insurance   Insurance         $0.00
          Insurance Company     Insurance Company
                                175 Berkeley Street
                                Boston, MA 02116




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                                      PROOF OF SERVICE OF DOCUMENT
        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
        A true and correct copy of the documents entitled (specify): NOTICE OF POTENTIAL ASSUMPTION AND
        ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES IN CONNECTION WITH SALE will
        be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
        (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
        General Orders and LBR will be served by the court via NEF and hyperlink to the document. On (date) 9/20/2019,
        I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
        persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 9/20/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
        case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
        mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
        mailing to the judge will be completed no later than 24 hours after the document is filed.

        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012

                                                                                         Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
        method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
        consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
        here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.


                                                                                         Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

           9/20/19                       Sonia Gaeta                                              /s/ Sonia Gaeta
           Date                          Printed Name                                             Signature




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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       1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
        John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
        Riebert Sterling Henderson shenderson@gibbsgiden.com
        Vivian Ho BKClaimConfirmation@ftb.ca.gov
        Alvin Mar alvin.mar@usdoj.gov
        Ashley M McDow amcdow@foley.com,
        sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
        Stacey A Miller smiller@tharpe-howell.com
        Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
        Shane J Moses smoses@foley.com
        Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
        Rejoy Nalkara rejoy.nalkara@americaninfosource.com
        Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
        David L. Neale dln@lnbyb.com
        Aram Ordubegian ordubegian.aram@arentfox.com
        Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
        Gregory M Salvato gsalvato@salvatolawoffices.com,
        calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
        Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
        Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Eric K Yaeckel yaeckel@sullivanlawgroupapc.com

        2. SERVED BY UNITED STATES MAIL:

          ADT Security Services                        Gemini Insurance Company                         Pex Cards
          PO Box 371878                                475 Steamboat Road                               462 7th Avenue
          Pittsburgh PA 15250-7878                     Greenwich, CT 06830                              21st Floor
                                                                                                        New York NY 10018-0000
          Amazon Logistics, Inc.                       The Hertz Corporation                            Ready Refresh
          Attention General Counsel                    Attn: Casey Rodriguez, Division VP               4400 S. Kolmar Ave.
          410 Terry Avenue North                       2 Schoephoester Road                             Chicago IL 60632-0000
          Seattle, WA 98109-5210                       Windsor Locks, CT 06096
          AT&T Corp.                                   Innovative Work Comp Solutions                   Southern California Gas Company
          c/o CT Corporation                           LLC                                              PO Box 1626
          818 Seventh Street, Suite 930                3440 Blue Springs Road NW                        Monterey Park CA 91754-8626
          Los Angeles CA 90017-0000                    Kennesaw, GA 30144
          Athens Services                              Lloyd’s of London                                Spectrum Business
          14048 E. Valley Blvd.                        One Lime Street                                  c/o Charter Communications
          La Puente CA 91746-0000                      London EC3M 7HA                                  PO Box 790261
                                                                                                        Saint Louis MO 63179-0000
          Booster Fuels                                Lockton Companies LLC                            Three Two Seven Family Mmgt.
          11 N. Ellsworth Avenue                       Attn: Nate Mundy, COO                            LLC
          San Mateo CA 94403-0000                      Lockton Insurance Brokers, LLC                   PO Box 120040
                                                       725 S. Figueroa, 35th Floor                      San Antonio, TX 78212
                                                       Los Angeles, CA 90017
          City of Glendale Water & Power               Parkway Commercial Realty                        Trust 5025983 LLC Series 1400 N.
          141 North Glendale Ave., Level 2             Attn: Laurence & Patricia Cesander               Cicero
          Glendale CA 91206-0000                       2485 E. Southlake Blvd.                          c/o Nelson Hill – Emily Rasan
                                                       Southlake, TX 76092                              1111 S. Western Avenue
                                                                                                        Chicago, IL 60612
          Crescenta Valley Water District              Garo and Aroussiak Dekirmendjian                 U-Stor-It Self Storage Chicago
          2700 Foothill Blvd.                          c/o Bulldog Commercial Real                      501 W. Broadway
          La Crescenta CA 91214-0000                   Estate                                           Suite 2020
                                                       Attn: John Raudsep, President                    San Diego, CA 92101
                                                       3634 Woodcliff
                                                       Sherman Oaks, CA 91403
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          ExtraSpaceStorage                              West American Insurance                         U-Stor-It Self Storage Lisle
          2244 S. Western Ave.                           Company                                         501 W. Broadway
          Chicago, IL 60608                              175 Berkeley Street                             Suite 2020
                                                         Boston, MA 02116                                San Diego, CA 92101

          Fleetwash Inc.                                 Verizon Wireless
          26 Law Drive                                   PO Box 489
          Fairfield NJ 07004-0000                        Newark NJ 07101-0489




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